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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

 DWAIN EDWARD THOMAS,

            Plaintiff,
 v.                                            Case No.: 20-cv-944-D

 KEVIN STITT, et al,

            Defendants.

                   JOINT MOTION FOR EXTENSION OF DEADLINES

       Plaintiff Dwain Edward Thomas and Defendants Kevin Stitt, Tom Bates, T. Hastings

Siegfried and Steven Harpe (hereinafter “Defendants”) (collectively, the “Parties”), pursuant

to Federal Rules of Civil Procedure 26 and 29 and LCvR. 7.1(h), respectfully request a forty-

five (45) day extension of deadlines. In support of this motion, the Parties state:

       1.      On September 28, 2023, this Court issued a Scheduling Order setting trial for

August 13, 2024, and interim deadlines for filing witness and exhibit lists, completion of

discovery, filing dispositive motions, and submitting pretrial materials. See Dkt. 70.

       2.      On December 21, 2023, Plaintiff served First Sets of Interrogatories and

Requests for Production to Defendants Kevin Stitt, Tom Bates, T. Hastings Siegfried and

Steven Harpe.

       3.      On January 8, 2024, Defendants requested a 30-day extension to respond to

Plaintiff’s discovery requests.

       4.      On February 21, 2024, Defendants served their Responses and Objections to

Plaintiff’s Interrogatories and Requests for Production.

       5.      On February 26, 2024, Plaintiff received Defendants’ first document production


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via flash drive.

       6.     On March 15, 2024, Plaintiff served 30(b)(6) deposition notices on each of the

four Defendants. Plaintiff asked for specific date ranges for each deponent starting on April

1, 2024, and ending on May 1, 2024.

       7.     On March 20, 2024, the Parties met and conferred regarding certain of

Defendants’ responses and objections to Plaintiff’s discovery requests and deficiencies in

their document production.

       8.     On April 15, 2024, Plaintiff received Defendants’ first supplemental document

production via flash drive.

       9.     On April 18, 2024, the Parties met and conferred regarding outstanding issues

related to certain of Defendants’ responses and objections to Plaintiff’s discovery requests

and deficiencies in their document production.

       10.    On April 22, 2024, Defendants provided the first dates for its 30(b)(6)

deponents to sit for deposition. The Parties are currently scheduling depositions. Due to

Defendants’ stated availability, some of these depositions will not be conducted until mid- to

late June.

       11.    The current deadline for the end of fact discovery is June 4, 2024. Dkt. 70.

       12.    This is the Parties’ second motion for extension of the deadlines outlined in the

Scheduling Order.

       13.    Granting the requested extension of time would result in the following new

deadlines:




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 Deadline                                              Current Due            Proposed Due
                                                       Date                   Date
 Plaintiff to file a final list of witnesses, together May 14, 2024           June 28, 2024
 with addresses and brief summary of expected
 testimony where a witness has not already been
 deposed.
 Defendants to file final list of witnesses, together May 28, 2024            July 12, 2024
 with addresses and brief summary of expected
 testimony where a witness has not already been
 deposed.
 Plaintiff to file final exhibit list.                 May 14, 2024           June 28, 2024
 Defendants to file objections to Plaintiff’s final May 28, 2024              July 12, 2024
 exhibit list under Fed. R. Civ. P. 26(a)(3)(B).
 Defendants to file final exhibit list.                May 28, 2024           July 12, 2024
 Discovery completion date.                            June 4, 2024           July 19, 2024
 All dispositive and Daubert motions to be filed. June 4, 2024                July 19, 2024
 Plaintiff to file objections to Defendants’ final June 11, 2024              July 26, 2024
 exhibit list under Fed. R. Civ. P. 26(a)(3)(B).

       14.    The Parties recognize that this extension will likely affect the existing trial date

and other pretrial deadlines, including but not limited to the filing of deposition designations,

motions in limine, proposed findings and conclusions of law, and the Final Pretrial Report.

See Dkt. 70 at ¶¶9–10, 14–16.

       15.    In lieu of resetting the trial date at this time, the Parties propose that they file a

joint status report with the Court by July 1, 2024, indicating whether either or both Parties

intend to file a dispositive motion. In the event one or both Parties intend to file dispositive

motion, the Parties will also move at that time to stay unexpired schedule order deadlines

pending the Court’s ruling on dispositive motions, pursuant to the Court’s original scheduling

order. Dkt. 70, ¶ 7. If the Parties do not intend to file dispositive motions, they agree to

submit a proposed order on July 1, 2024 amending the subsequent pretrial deadlines.

       16.    This extension request is not being sought for the purpose of delay.



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      WHEREFORE, for the reasons set forth above, the Parties respectfully request the

Court grant the requested 45-day extension of deadlines.

Dated: May 2, 2024

                                         Respectfully submitted,

                                         s/ Emily M. Long
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